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AO I 06A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means



                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Southern District of California

                 In the Matter of the Search of                               )
                                                                                                        '22 MJ3918
         (Briefly describe the property to be searched                        )
          or identify the person by name and address)                         )              Case No.
                    Acer Sospiro A60                                          )
           Seizure No. 2023250400011101-0005                                  )
                                                                              )
                     ("Target Device")
    APPLICATION FOR AW ARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A, incorporated herein by reference.

located in the              Southern              District of _____C_a_l_if_o_rn_i_a_____ , there is now concealed (identify the
person or describe the property to be seized):


 See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
               l'lf evidence of a crime;
                   0 contraband, fruits of crime, or other items illegally possessed;
                   0 property designed for use, intended for use, or used in committing a crime;
                   0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                         Offense Description
        21 USC Sec. 952 and 960                    Importation of a Controlled Substance
        21 USC Sec. 963                            Conspiracy to Import

         The application is based on these facts:
        See Attached Affidavit, incorporated herein by reference.

           iif   Continued on the attached sheet.
           0 Delayed notice of        days (give exact ending date if more than 30 days:   _ _ _ _ _ ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on th                  eet




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:        October 24, 2022
                                                                                                          Judge 's signature(l

City and state: San Diego, California                                                 Hon. William V. Gallo, United States Magistrate Judge
                                                                                                        Printed name and title
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                                ATTACHMENT A

                        · PROPERTY TO BE SEARCHED

The following property is to be searched:

      Acer Sospiro A60
      Seizure No. 2023250400011101-0005
      ("Target Device")

The Target Device is currently in the possession of Homeland Security
Investigations, located at 880 Front Street, Suite 3200, San Diego, California
92101.
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                                ATTACHMENT B
                              ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space,
and temporary or permanent files contained on or in the cellular telephone for
evidence described below. The seizure and search of the cellular telephone shall
follow the search methodology described in the affidavit submitted in support of the
warrant.

       The evidence to be seized from the cellular telephone will be electronic
records, communications, and data such as emails, text messages, chats and chat logs
from various third-party applications, photographs, audio files, videos, and location
data, for the period of September 23, 2022, up to and including October 23, 2022:

      a.     tending to indicate efforts to import controlled substances from Mexico
             into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of controlled substances from Mexico into the
             United States;

      c.     tending to identify co-conspirators, criminal associates, or others
             involved in importation of methamphetamine, or some other federally
             controlled substance, from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation of controlled substances from Mexico into the United
             States, such as stash houses, load houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access
             to, the Target Device; and/or

      f.     tending to place in context, identify the creator or recipient of, or
             establish the time of creation or receipt of communications, records, or
             data involved in the activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952, 960
and 963.
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 1                                          AFFIDAVIT
 2         I, Special Agent Marina Griffin, being duly sworn, hereby state as follows:
 3                                      INTRODUCTION
 4         1.    I submit this affidavit in support of an application for a warrant to search the
 5 following electronic device:
 6                      Acer Sospiro A60
 7                      Seizure No. 2023250400011101-0005
 8                      ("Target Device")
 9 as further described in Attachment A, and to seize evidence of crimes, specifically
1O violations of Title 21, United States Code, Sections 952, 960, and 963 as further described
11   in Attachment B. The requested warrant relates to the investigation and prosecution of
12 Edith ESPIRITU Comparan ("Defendant") for importing approximately 68.37 kilograms
13 (150.73 pounds) ofmethamphetamine and 1.16 kilograms (2.56 pounds) of fentanyl from
14 Mexico into the United States. The Target Device is currently in the custody of Homeland
15 Security Investigations and located at 880 Front Street, Suite 3200, San Diego, California
16 92101.
17         2.    The information contained in this affidavit is based upon my training,
18 expenence, investigation, and consultation with other members of law enforcement.
19 Because this affidavit is made for the limited purpose of obtaining a search warrant for the
20 Target Device, it does not contain all the information known by me or other agents
21   regarding this investigation. All dates and times described are approximate.
22                                      BACKGROUND
23         3.    I have been employed as a Special Agent with Homeland Security
24 Investigations (HSI) since August of 2003. I am currently assigned to the HSI Office of the
25 Special Agent in Charge, in San Diego, California. I am a graduate of the Federal Law
26 Enforcement Training Center in Glynco, Georgia.
27         4.    During my tenure with HSI, I have participated in the investigation of various
28 narcotics trafficking organizations involved in the importation and distribution of
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 1 controlled substances into and through the Southern District of California. Through my
 2 training, experience, and conversations with other law enforcement officers experienced in
 3 narcotics trafficking investigations, I have gained a working knowledge of the operational
 4 habits of narcotics traffickers, in particular those who attempt to import narcotics into the
 5 United States from Mexico at Ports of Entry.
 6         5.     I am aware that it is common practice for narcotics traffickers to work in
 7 concert utilizing cellular telephones. A common tactic utilized by narcotics traffickers is
 8 to smuggle controlled substances into the United States from Mexico by concealing the
 9 controlled substances in vehicles or on persons entering the United States at Ports of Entry
10 such as the San Ysidro Port of Entry and the Otay Mesa Port of Entry. With respect to the
11 importation of narcotics in this manner, I am aware that narcotics traffickers in Mexico
12 frequently communicate with the individual responsible for importing the concealed
13 narcotics into the United States. These communications can occur before, during and after
14 the narcotics are imported into the United States. For example, prior to the importation,
15 narcotics traffickers frequently       communicate with the transporter(s) regarding
16 arrangements and preparation for the narcotics importation. When the importation is
17 underway, narcotics traffickers frequently communicate with the transporter(s) to remotely
18 monitor the progress of the narcotics, provide instructions and warn accomplices about law
19 enforcement activity. When the narcotics have been imported into the United States,
20 narcotics traffickers may communicate with the transporter(s) to provide further
21 instructions regarding the delivery of the narcotics to a destination within the United States.
22         6.     Based upon my training, experience, and consultations with law enforcement
23 officers experienced in narcotics trafficking investigations, and all the facts and opinions
24 set forth in this affidavit, I am aware that cellular telephones (including their SIM card(s))
25 can and often do contain electronic evidence, including, for example, phone logs and
26 contacts, voice and text communications, and data, such as emails, text messages, chats
27 and chat logs from various third-party applications, photographs, audio files, videos, and
28 location data. This information can be stored within disks, memory cards, deleted data,
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 1 remnant data, slack space, and temporary or permanent files contained on or in the cellular
 2 telephone. Specifically, searches of cellular telephones of individuals involved in the
 3 importation of narcotics may yield evidence:
 4
           a.     tending to indicate efforts to import controlled substances from Mexico
 5                into the United States;
 6
           b.     tending to identify accounts, facilities, storage devices, and/or services-
 7                such as email addresses, IP address.es, and phone numbers-used to
                  facilitate the importation of controlled substances from Mexico into the
 8
                  United States;
 9
           C.     tending to identify co-conspirators, criminal associates, or others involved
10
                  in importation of controlled substances from Mexico into the United
11                States;
12
           d.     tending to identify travel to or presence at locations involved in the
13                importation of controlled substances from Mexico into the United States,
                  such as stash houses, load houses, or delivery points;
14
15         e.     tending to identify the user of, or persons with control over or access to,
                  the Target Device; and/or
16
17         f.     tending to place in context, identify the creator or recipient of, or establish
18                the time of creation or receipt of communications, records, or data involved
                  in the activities described above.
19
                          FACTS SUPPORTING PROBABLE CAUSE
20
           7.     On October 23, 2022, at approximately 1: 13 AM, Edith ESPIRITU
21
     Comparan, ("ESPIRITU"), a Legal Permanent Resident, applied for entry into the United
22
     States from Mexico through the San Ysidro Port of Entry in vehicle lane # 12. ESPIRITU
23
     was the driver, sole occupant, and registered owner of a 2008 Chrysler Aspen ("the
24
     vehicle") bearing California license plates.
25
26         8.     A Customs and Border Protection Officer (CBPO) received two negative
27 Customs declarations from ESPIRITU. ESPIRITU stated she was crossing the border to
28 go to Santa Ana in Los Angeles, California.
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 1         9.     A CBPO operating the Z-Portal X-Ray machine detected anomalies in all four
 2 doors and both quarter panels of the vehicle.
 3         10.    A Canine Enforcement Team was conducting secondary inspection operations
 4 when the Human and Narcotic Detection Dog alerted to the front driver side door.
 5
         11. Further inspection of the vehicle resulted in the discovery of 148 total
 6
   packages concealed within all the doors and the rear quarter panels of the vehicle. 145 of
 7
     the packages contained a substance, a sample of which field tested positive for the
 8
     characteristics ofmethamphetamine, with a total approximate weight of 68.37 kgs (150.73
 9
     lbs); 3 of the packages contained a substance, a sample of which field tested positive for
10
     the characteristics of fentanyl, with a total approximate weight of 1.16 kgs (2.56 lbs).
11
           12.    ESPIRITU was placed under arrest at approximately 4:48 AM.
12
13         13.    During a post-Miranda interview, ESPIRITU denied knowledge that the
14 narcotics were in the vehicle. ESPIRITU stated that she was going to the Los Angeles area
15 to move in with her brother-in-law and her estranged husband. ESPIRITU stated the man
16 she purchased the vehicle from, recently picked it up and took it to get the speakers fixed.
17 ESPIRITU stated the vehicle was returned to her on October 21, 2022, and she had not
18 driven the vehicle but had only moved it closer to her place to pack items in it for her move.
19 ESPIRITU stated on the day of her arrest was the first time she had driven the vehicle since
20 it had been repaired.
21         14.    ESPIRITU was arrested and charged with a violation of Title 21, United States
22 Code, 952 and 960, importation of a controlled substance.
23       15. The Target Device was found and seized by a Customs and Border Protection
24 Officer (CBPO) who was tasked to perform a secondary inspection of the Vehicle and
25 inventory all the property seized from the Defendant and her Vehicle. During the interview,
26 Defendant was shown the Target Device and identified the Target Device as belonging to
27 her.
28         16.    Based upon my expenence and training, consultation with other law
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 1 enforcement officers experienced in narcotics trafficking investigations, and all the facts
 2 and opinions set forth in this affidavit, I believe that telephone numbers, contact names,
 3 electronic mail (email) addresses, appointment dates, messages, pictures and other digital
 4 information are stored in the memory of the Target Device. In light of the above facts and
 5 my experience and training, there is probable cause to believe that Defendant was using
 6 the Target Device to communicate with others to further the importation of illicit narcotics
 7 into the United States. Further, in my training and experience, narcotics traffickers may be
. 8 involved in the planning and coordination of a drug smuggling event in the days and weeks
 9 prior to an event. Co-conspirators are also often unaware of a defendant's arrest and will
1O continue to attempt to communicate with a defendant after their arrest to determine the
11 whereabouts of the narcotics. Based on my training and experience, it is also not unusual
12 for individuals, such as Defendant, to attempt to minimize the amount of time they were
13 involved in their smuggling activities, and for the individuals to be involved for weeks and
14 months longer than they claim. Accordingly, I request permission to search the Target
15 Device for data beginning on September 23, 2022, up to and including October 23, 2022.
16                                     METHODOLOGY
17         17.   It is not possible to determine, merely by knowing the cellular telephone's
18 make, model and serial number, the nature and types of services to which the device is
19 subscribed and the nature of the data stored on the device. Cellular devices today can be
20 simple cellular telephones and text message devices, can include cameras, can serve as
21 personal digital assistants and have functions such as calendars and full address books and
22 can be mini-computers allowing for electronic mail services, web services and rudimentaiy
23 word processing. An increasing number of cellular service providers now allow for their
24 subscribers to access their device over the internet and remotely destroy all of the data
25 contained on the device. For that reason, the device may only be powered in a secure
26 environment or, if possible, started in "flight mode" which disables access to the network.
27 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
28 equivalents and store information in volatile memory within the device or in memory cards
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 1 inserted into the device. Current technology provides some solutions for acquiring some of
 2 the data stored in some cellular telephone models using forensic hardware and software.
 3 Even if some of the stored information on the device may be acquired forensically, not all
 4 of the data subject to seizure may be so acquired. For devices that are not subject to forensic
 5 data acquisition or that have potentially relevant data stored that is not subject to such
 6 acquisition, the examiner must inspect the device manually and record the process and the
 7 results using digital photography. This process is time and labor intensive and may take
 8 weeks or longer.
 9         18.   Following the issuance of this warrant, I will collect the Target Device and
10 subject it to analysis. All forensic analysis of the data contained within the telephone and
11 its memory cards will employ search protocols directed exclusively to the identification
12 and extraction of data within the scope of this warrant.
13         19.   Based on the foregoing, identifying and extracting data subject to seizure
14 pursuant to this warrant may require a range of data analysis techniques, including manual
15 review, and, consequently, may take weeks or months. The personnel conducting the
16 identification and extraction of data will complete the analysis within ninety (90) days of
17 the date the warrant is signed, absent further application to this court.
18
19                      PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
20         20.   Law enforcement has not previously attempted to obtain the evidence sought
21 by this warrant.
22                                        CONCLUmON
23         21.   Based on the facts and information set forth above, I submit there is probable
24 cause to believe that a search of the Target Device will yield evidence of Defendant's
25 violations of Title 21, United States Code, Sections 952, 960 and 963. Accordingly, I
26 request that the Court issue a warrant authorizing law enforcement to search the item
27 described in Attachment A, and seize the items listed in Attachment B using the above-
28 described methodology.
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 1
 2 I swear the foregoing is true and correct to the best of my knowledge and belief.
 3
 4
 5
 6
     Sworn and attested to under oath by telephone, in accordance with Federal Rule of
 7
     Criminal Procedure 4.1, this 24th day of October, 2022.
 8
 9
10 Honorable William V. Gallo
   United States Magistrate Judge
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